     Case
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      Attorney for the United States
7

8                        UNITED STATES DISTRICT COURT
                              DISTRICT OF NEVADA
9                                    -oOo-
10
       UNITED STATES OF AMERICA,                              2:13-cr-83-JCM-CWH
11
                              Plaintiff,                STIPULATION TO SENTENCING
12                                                            (Second Request)
                   vs.
13
       DARYLL REESE,
14
                             Defendant.
15
            IT IS HEREBY STIPULATED AND AGREED, by and between, the United States
16
      of America, through the undersigned, together with Gabriel Grasso, Esq., counsel for
17
      defendant DARYLL REESE, that the sentencing hearing currently scheduled for
18
      February 6, 2017 at 10:00 a.m., be vacated and set to a date and time convenient to this
19
      Court, but no sooner than thirty (30) days.
20
            This stipulation is entered into for the following reasons:
21
            1. The Defendant is not incarcerated and does not object to the continuance.
22
            2. The parties need additional time to prepare for Defendant Reese’s sentencing
23

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                                                    1
     Case
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1              hearing.

2           3. The parties agree to the continuance.

3           4. Additionally, denial of this request for continuance could result in a

4              miscarriage of justice.

5           5. The additional time requested by this Stipulation is made in good faith and

6              not for purposes of delay.

7              This is the second request for a continuance of the sentencing hearing.

8                   DATED this 30th day of January, 2017.

9
            DANIEL G. BOGDEN,                       By: __/s/ Gabriel Grasso_
10          United States Attorney                  GABRIEL GRASSO, ESQ.
            By: /s/ Lisa C. Cartier Giroux          Counsel for Daryl Reese
11          LISA C. CARTIER GIROUX
            Assistant United States Attorney
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2                      UNITED STATES DISTRICT COURT
                           DISTRICT OF NEVADA
3
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4
       UNITED STATES OF AMERICA,                         2:13-cr-83-JCM-CWH
5
                               Plaintiff,
6                                                         ORDER
                    vs.
7
       DARYLL REESE,
8
                               Defendant.
9

10           The ends of justice served by granting said continuance outweigh the best

11    interest of the public and the defendant in a speedy sentencing, since the failure to

12    grant said continuance would be likely to result in a miscarriage of justice, would deny

13    the parties herein sufficient time and the opportunity within which to be able to

14    effectively and thoroughly prepare for sentencing, taking into account the exercise of

15    due diligence.

16           IT IS THEREFORE OREDERED that sentencing in the above-captioned matter

17    currently scheduled for February 6, 2017 at 10:00 a.m., be vacated and continued to

18    March 15, 2017 at 10:00 a.m.

19          February 1, 2017.
      DATED ______________
20

21                                            _____________________________________
                                              THE HONORABLE JAMES C. MAHAN
22                                            U.S. DISTRICT COURT JUDGE

23

24
                                                  3
